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Exhibit 46
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Expert Report of Robert D. Gibbons Ph.D.

Neurontin Litigation

QUALIFICATIONS

My name is Robert D. Gibbons, and I am the Director of the Center for Health Statistics,
and Professor of Biostatistics and Psychiatry at the University of Illinois at Chicago. I
am a Fellow of the American Statistical Association and a two-time recipient of the
American Statistical Association’s Youden Award for statistical contributions to the field
of Chemistry (2001 and 2006). I have received the Harvard Award for lifetime
contributions to the field of Psychiatric Epidemiology and Biostatistics. | am a member
of the Institute of Medicine (IOM) of the National Academy of Sciences (NAS), and
served for six years on the IOM Board on Health Sciences Policy. I am the author of
over 185 peer reviewed scientific papers, and four books. Two of these books are
considered foundational in the area of environmental statistics (Statistical Methods for
Groundwater Monitoring (1994); and Statistical Methods for Detection and
Quantification of Environmental Contamination (2001) with David Coleman, both
published by John Wiley and Sons), and the 2001 book received the distinction of being
in the top 5 books for statisticians, from the American Statistical Association. My most
recent book with Don Hedeker “Longitudinal Data Analysis,” also published by John
Wiley and Sons, presents a comprehensive overview of methods for the analysis of
longitudinal data. My first book, “Statistical and Methodological Advances in
Psychiatric Research,” was published in 1982.

I have served on the Institute of Medicine Committee on the Safety and Efficacy of the
drug Halcion, which utilized similar methods to those used here to synthesize data from
multiple studies to evaluate the efficacy and safety of a CNS active pharmaceutical.

My expert opinions in this case are based on my review of the expert reports of Drs.
Jewell, McCrory, and Perry and associated data identified in their reports and my
experience in working in the area of statistical methods over the past 28 years. My CV is
included as Exhibit A, and a complete list of documents that I considered is attached as
Exhibit B. I reserve the right to supplement or modify these opinions as further
information becomes available and additional analyses are undertaken.

I have testified as an expert witness at trial within the last four years in the case of Eli
Lilly, et al. v. Zenith Goldline, et al., 1P01-0443 C Y/S, in the United States District Court
for the Southern District of Indiana, the case of Forest Laboratories v. Ivax
Pharmaceuticals, Civil Action No. 03-891-JJF, in the United States District Court for the
District of Delaware, in the Matter of the Appraisal between Taunus Corporation,
Plaintiff, and Allianz Insurance Company, Axa Corporate Solutions Insurance Company,
and Axa Global Risks US' Insurance Company, the case of Giles vs. Wyeth, 04-CV-04245
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in the United States District Court for the Southern District of Illinois, a deposition in the
matter of B.F. Goodrich vs. Westlake Vinyls, and the Neurontin Marketing, Sales
practices and Products Liability Litigation, 04-10981-PBS..

My customary rate and the rate at which I will be compensated for work on this case is
$500 per hour.

Executive Summary

In the following, I review the reports of Drs. Jewell, Perry, and McCrory and where
possible, have performed my own analysis of data presented in their reports.
Additionally, based on my review of their reports I requested all of the original data from
the parallel group randomized placebo controlled trials of neuropathic pain conducted by
Pfizer and Warner-Lambert (6 studies) and have reanalyzed those data in order to shed
light on statistical and methodological concerns that I have with the analyses presented in
the plaintiffs’ expert’s reports. Based on my review and the analyses that I have
performed on the original data, I have reached the following conclusions.

First, nothing in the expert report of Dr. Jewell undermines the conclusion reached by Dr.
Miroslav Backonja and his co-authors in their article published in the Journal of the
American Medical Association. Dr. Jewell’s hypothesis that patients in the Backonja
study of gabapentin use in treating diabetic peripheral neuropathy developed side effects
that led to unblinding and therefore bias in favor of gabapentin is not supported by the
data. My analysis of these data reveal that there is no relationship between two of the
groups of CNS side-effects (somnolence and dizziness) considered by Dr. Jewell and
pain, and in the third (nervousness) I found a significant positive association with pain,
This is the opposite of the unblinding hypothesis, where patients get worse following
emergence of the side effect, not better. Furthermore, after adjusting for the emergence
of all CNS side effects, a significant treatment effect of gabapentin was maintained.

Second, Dr. Perry’s conclusion that gabapentin is not effective for the treatment of
neuropathic pain is squarely contradicted by the data, which clearly support the efficacy
of the drug relative to placebo. Results of my analysis revealed statistically significant
effects of treatment on pain scores, 50% improvement rates, and ratings of moderate or
much improvement. In general, the odds of improvement were double that on gabapentin
relative to placebo. In terms of clinically interpretable endpoints, 33.4% of patients
treated with gabapentin achieved a 50% pain reduction, whereas only 18.7% of placebo
patients did (p<0.0001). In terms of ratings of improvement, 41.7% of gabapentin
patients were moderately or much improved whereas only 22.0% of placebo patients
were (p<0.0001). With respect to rates of change in pain ratings over time, gabapentin
treated patients had a 61% faster rate of change than placebo patients (p<0.0001). The
number needed to treat in order to obtain one additional case of moderate to much
improvement over placebo is 5, whereas the number needed to harm to a degree in which
one additional gabapentin treated patient is willing to discontinue treatment relative to
placebo is 35. As such, the overall benefit to risk ratio relative to placebo is 7:1, that is,
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for every patient that withdraws from the study due to an adverse event, 7 patients
achieve moderate to much improvement (relative to placebo). Finally, although Dr. Perry
describes his own analysis as “meticulous,” there are critical flaws in the way that he
handled the data. Of the 176 patients who were not evaluated on the Patient Global
Impression of Change (PGIC), Dr. Perry assigned a non-favorable response to all but 14
of these patients in his analysis. These patients were not even evaluated, so it is
impossible for Dr. Perry to know the status of their improvement level. This is a serious
error and raises questions regarding the validity of other analyses presented in his report.

Third, Dr. McCrory has reanalyzed a subset of the migraine studies for both headache
frequency and 50% headache reduction and did not find convincing evidence for the
efficacy of gabapentin. I have reanalyzed the data from these 5 studies and found a
statistically significant beneficial effect of gabapentin on 50% reduction in migraine
headache frequency. Dr. McCrory removes two of the five studies from the subset of
studies that he selected for his analysis. Even if we remove these two studies from the
pool and only look at the three studies Dr. McCrory analyzed, then the odds ratio reduces
from 2.08 (p<0.008) to 1.62 (p<0.099), a trend in favor of gabapentin which approaches
significance.

Opinions on Dr. Jewell’s Report

1. Dr. Jewell has reanalyzed the data from the Backonja (1998) study using a newer
statistical model for the analysis of longitudinal data based on generalized
estimating equations (GEE). The overall analysis performed by Dr. Jewell
confirmed the original findings of Backonja (1998) who showed that using a last
observation carried forward (LOCF) endpoint analysis there was a statistically
significant effect of treatment (relative to placebo control). However, while
Backonja and colleagues found that the effect remained statistically significant
when subjects who experienced side-effects of somnolence or dizziness were
removed, Dr. Jewell’s analysis revealed that the treatment effect was no longer
statistically significant after all data on or following the emergence of a treatment
related CNS side-effect were excluded from the analysis (12 placebo patients and
44 gabapentin patients). Dr. Jewell interprets this finding as indicating that the
treatment effect identified by Backonja and colleagues was due to unblinding
produced by the increased incidence of these CNS side-effects in the gabapentin
group, the theory being that the presence of the side effect indicated to the patient
that they were on active treatment, and this knowledge improved (i.e., lowered)
their subjective ratings of pain.

Backonja and colleagues studied this possibility in their original analysis but did
not find support for the theory. Below, I provide a detailed investigation of these
data and the methodology used by Dr. Jewell to analyze his unblinding
contention.
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2. The statistical method used by Dr. Jewell made several key assumptions about
the data, each of which is flawed. The assumptions are:

a. The time trends for both placebo and gabapentin are linear over time.

b. The research sites differ in pain levels at baseline, but otherwise all sites
had the same rate of change over time.

c. The effect of the missing data produced by excluding patients with side-
effects is ignorable based solely on the overall effects of treatment, time
and site (i.e., the predictors that are included in the model).

d. That patients who experienced treatment related CNS side-effects actually
improved following the emergence of the side-effect.

With respect to the first assumption, the changes in pain are clearly not linearly
decreasing over time. As evidenced in the following plot of the 56 daily observed
means and the estimated linear trends for placebo and gabapentin groups, the
assumption of linearity is clearly not appropriate for these data.

Figure 1

Daily Mean Pain Scores

Linear Time Trend Model

 

 

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Pain

 

 

 

 

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Figure | also explains the curious finding reported by Dr. Jewell that there was a
statistically significant difference between placebo and gabapentin treated
subjects at baseline (i.e., before treatment). This makes little sense given that this
was a randomized study and the two groups should be comparable at baseline.
Figure | clarifies this curious result by showing that by attempting to impose a
poorly fitting linear trend to these data, (a) the baseline scores are underestimated,
and (2) the difference in estimated baseline (i.e., day 0) mean scores between
gabapentin and placebo arms is grossly exaggerated. In fact the observed means
(open and closed squares at day=0) are reasonably similar as would be expected
from a randomized study. Figure 1 clearly reveals that the basic model used by
Dr. Jewell in his reanalysis of these data does not fit the data, leads to erroneous
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conclusions, and cannot be relied upon to yield valid inferences regarding the
possibility of unblinding.

3. In an attempt to provide a more complete longitudinal analysis of these data, I
performed a series of additional re-analyses of these data using a three-level
mixed-effects regression model (see Hedeker and Gibbons, 2006 for a
comprehensive overview and comparison with GEE). There are several
advantages of this analysis over the analysis performed by Dr. Jewell. First, in
my analysis I was able to incorporate the curvilinearity in the observed time
trends into the analysis. Second, sites are allowed to vary both in terms of the
baseline severity of pain, but also in terms of their rate of change over time.
Third, the mixed-effects regression model has more general missing data
assumptions (Missing at Random — MAR for mixed-effects model versus Missing
Completely at Random — MCAR for GEE). The missing data are ignorable for
the mixed-effects model conditional on both the predictors and the observed pain
responses up to the point of discontinuation or in this case exclusion due to a CNS
side effect. As such, the trend line for a given patient is estimated based on the
available data prior to their removal from the study. This is in direct contrast to
GEE where it is the marginal means that are modeled and not the individual time
trends. For GEE, which assumes MCAR, the pain data up to the point of
censoring, cannot be used to explain the missing data. The result is that the
mixed-effects model represents a more general model for the analysis of
longitudinal data with missing values. This is particularly relevant in the present
circumstance because the missing data mechanism is observable, namely the
presence of a CNS side-effect. Fourth, we can implicitly test the unblinding
hypothesis by incorporating CNS side-effects as time-varying covariates in the
model and determine if the treatment differences remain after adjustment for these
effects. Sensitivity analyses excluding days on or following the emergence of a
CNS side effect can also be performed under more general missing data
assumptions.

4. With respect to curvilinearity, | examined two different model parameterizations;
a quadratic model and a model that expresses time as the natural logarithm (In) of
day+]. A value of J is added to day to insure that we do not take the logarithm of
zero. Baseline is therefore day=0+1 and the natural logarithm is In(1)=0, thereby
preserving the interpretation of the intercept as the estimated baseline value. I
used the Bayesian Information Criterion (BIC) to determine which of the three
time-trend models (linear, quadratic, In(day+1) provided the best fit to the data
(lower BIC better fit). BIC values were 26565.86 for the linear model, 26299.49
for the quadratic model, and 26223.31 for the In(day+1) model, indicating that the
In(day+1) model provided the best fit to the observed data. The fits of these
models are shown graphically in Figures 2 and 3.
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Figure 2

Daily Mean Pain Scores

Quadratic Time Trend Model

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Daily Mean Pain Scores
Log Time Trend Model
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5. The curious statistical significance at baseline that was observed for the linear
model used by Dr. Jewell is not significant for either of the two better fitting
curvilinear time models (p=0.17 for the quadratic model and p=0.60 for the log
time model). However, both the quadratic and log time models found statistically
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significant treatment by time interactions (p=0.0001 for quadratic and p=0.009 for
log time). Interpretation of the quadratic model is complicated by the fact that the
rate of change for this model is not constant over time; however this is not true for
the even better fitting log time model for which the rate of change is linear on a
log-time scale. What is important to note is that the curvilinear model, in
providing a better fit to the actual data, clearly reveals that the placebo and
gabapentin treated patients are similar at baseline but as time progresses, the
gabapentin treated patients are in significantly less pain than the placebo controls.
The linear time-trend model obscures this difference by incorrectly ascribing the
post-treatment difference to an imbalance between the two groups prior to the
initiation of treatment. Figure 3 clearly reveals that the estimated treatment effect
is statistically significant and increases over time.

6. In the next analysis, I added somnolence, dizziness, and other CNS side effects
(e.g., nervousness, twitching, ataxia) as three time-varying covariates that take on
the value 0 prior to emergence and the value 1 on the day and after emergence in
those patients that experienced a CNS treatment related side effect. These are the
same cases identified in Dr. Jewell’s analysis. Results of this analysis did not
support Dr. Jewell’s unblinding hypothesis. First, neither somnolence (p=0.82)
nor dizziness (p=0.63) were significantly related to pain. If the presence of these
two side effects produced unblinding as suggested by Dr. Jewell, then we should
have observed a significant negative association between the presence of these
two side effects and pain scores. Second, the other CNS side effects such as
nervousness, twitching and ataxia had a significant positive association with
treatment (p=0.014) where on the day or following the emergence of the side
effect, pain scores increased an average of .41 scale points after the side effect.
This is the opposite of the unblinding hypothesis, because patients get worse
following emergence of the side effect, not better. Third, after adjusting for the
emergence of CNS side effects, the treatment by time interaction remained
virtually identical -0.284 versus -0.276 units per In(day), and remained
statistically significant (p=0.007). This finding reveals that even after adjusting
for side effects, the effect of treatment on pain remained statistically significant.
Similar results were observed for adjustment for a combined category of any
treatment related side effect (interaction=-0.283, p=0.007). The effect of any
treatment related CNS side effect on pain was positive (0.07) and not significant
(p=0.40). Finally, excluding days on or after a CNS side effect still produced a
statistically significant treatment by time interaction (-0.299, p=0.01). For
placebo treated subjects the rate of change was -0.430 units per In(day) and for
gabapentin treated patients the rate of change was -0.430-0.299=-0.729 per
In(day). This represents a 69% increase in rate of change over time for
gabapentin treated patients relative to placebo treated patients, even after
excluding data that followed emergence of a treatment related CNS side effect.
At baseline the overall intercept was 6.760 and the difference between gabapentin
and placebo was -0.198 pain units. At day 56, the estimated placebo pain level is
6.760-0.430(In(56+1))=5.02 and the estimated gabapentin response is 6.760-
0.198-0.729(In(56+1))=3.62, which represents an overall 28% decrease in pain
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scores at the end of the study even after excluding the data following any potential
unblinding.

7. These findings make it clear that the unblinding hypothesis is not in any way
supported by these data. Pain scores were not significantly influenced by
somnolence or dizziness side effects, and other CNS treatment related side effects
(¢.g., nervousness, twitching, ataxia) significantly increased pain which is the
opposite of what would be expected under unblinding. Finally after adjusting for
the effects of CNS side effects or excluding the associated data the treatment
related effects were essentially unchanged in magnitude and remained Statistically
significant. These findings are consistent with the findings of the original
investigators.

8. It is important to note that the original investigators (Backonja et.al., 1998)
performed their analyses using a last observation carried forward (LOCF) end-
point analysis and when the data were analyzed excluding subjects who
experienced somnolence or dizziness adverse events, the authors continued to find
statistically significant evidence of decreased pain on gabapentin relative to
placebo. At the time that these analyses were performed, this was the statistical
method of choice of the FDA for analyzing longitudinal studies with missing data.
Therefore, it is completely logical for Backonja and colleagues to have used this
method of analysis, particularly since this study was done at least in part to obtain
FDA approval for this drug for this indication.

Opinions on Dr. Perry’s Report

Based on a review of the published and unpublished literature, and a meta-analysis that
he conducted, Dr. Perry concludes that gabapentin “is not an effective drug for the
treatment of neuropathic pain.” While his report is quite lengthy, his conclusions are
actually based on only a few key findings. In the following, I review these findings and
the conclusions that he draws from them.

1. Dr. Perry states “My thorough review and meta-analysis of available published
and unpublished evidence shows that Neurontin (gabapentin) has at best a
clinically insignificant average effect on pain scores.” This a curious statement in
that Dr. Perry’s own meta-analysis reveals statistically significant effects of
treatment with gabapentin on pain scores, Patient Global Impression of Change
(PGIC), and greater than 50% decrease in pain. The magnitudes of these effects
were approximately | point on an 11 point pain scale, an absolute difference of
13% favoring gabapentin, for greater than 50% decrease in pain (RR=1.72, CI=
1.36, 2.17) favoring gabapentin, and an absolute difference of 17.2% for self
ratings of “moderately or much improved” (RR=1.78 CI=1 .53,2.07) favoring
gabapentin. These are all statistically significant effects and the risk ratios
indicate increases on the order of 75% in terms of relative likelihood of benefit
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from gabapentin using the type of “real world” patient-centric outcome
measurements that Dr. Perry favors. Furthermore, Dr Perry discounts the mean
change in pain scores because it is less than 1 point on an 11 point scale. This is
not a particularly convincing argument because it is not the range of the scale that
is important, but rather the range of scale scores that are actually used by the
patients, which is reflected in the variability of the scale scores (i.e., the standard
deviation of pain change scores). Inspection of page 319 of Dr. Perry’s report
reveals that the standard deviation of the scale scores is on the order of 2.0 scale
units. As such, it is clear that on average, patients are using only a small subset of
the scale, and the magnitude of the estimated overall difference (-0.78) is in fact
reasonably large. Further inspection of Dr. Perry’s table reveals that the effect is
even larger for post-herpetic neuralgia (-1.39), which represents a quite large
effect size (0.7 standard deviation units).

2. There are two primary reasons that Dr. Perry uses to substantiate his conclusion
that gabapentin is ineffective for the treatment of pain. First, based on Dr.
Jewell’s analysis he claims that the observed differences are overestimated
because they are the result of unblinding. As previously described, I have
reanalyzed these data and find that the results of the analysis did not support Dr.
Jewell’s unblinding hypothesis. First, neither somnolence (p=0.82) nor dizziness
(p=0.63) were significantly related to pain scores. Second, the other CNS side
effects such as nervousness, twitching and ataxia had a significant positive
association with treatment (p=0.014) where on the day or following the
emergence of the side effect, pain scores increased an average of .41 scale points
after the side effect. This is the opposite of the unblinding hypothesis, where
patients get worse following emergence of the side effect, not better. Third, after
adjusting for the emergence of CNS side effects, the treatment by time interaction
was virtually identical and remained statistically significant (p=0.007). This
finding reveals that even after adjusting for side effects, the effect of treatment on
pain remained statistically significant. The problem with Dr. Jewell’s analysis is
that (a) he assumed that the time trends were linear when in fact they are
remarkably curvilinear (see Figure 1), and (b) he used an estimation procedure
(GEE) that makes overly restrictive assumptions regarding the missing data (see
my review of Dr. Jewel’s expert report). These assumptions which are not
supported by the observed data as evidenced by Figure 3 led Dr. Jewell to
conclude that the gabapentin and placebo groups were significantly different at
baseline, a conclusion that makes no sense whatsoever for a randomized trial.

Second, Dr. Perry believes that the benefit to risk ratio is not favorable for
gabapentin, because the percentage increase in moderate to much improved pain
ratings (17.2%) was similar to the overall percentage increase in all side effects
(12.4%). However, Dr. Perry’s own analysis revealed that there were no
significant increases in mortality or serious side effects. He did find a significant
increase in withdrawals due to adverse events, but the absolute difference was
only 2.9%. These analyses revealed that the number needed to treat (NNT) was 6,
whereas the number needed to harm (NNH) as defined by an adverse event
leading to study discontinuation was 35. This is clearly a very positive benefit to
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wo

risk ratio, where the number needed to treat is one-sixth that of the number
needed to harm. While Dr. Perry appears to favor interpreting the total number of
adverse events as the statistic of interest, the “patients are speaking to us” through
these data by showing that the benefits of treatment are outweighing the
discomfort of the side effects. If this were not the case, they would not be
remaining in the study following the emergence of these side effects. According
to the Table on page 318 of his report, 38% of the gabapentin treated patients
achieve a self-reported moderate to much improved benefit of treatment, whereas
only 11% experienced a side effect of sufficient severity to withdraw from the
study (see page 317 of Dr. Perry’s report). Overall, the benefits of treatment with
gabapentin appear to outweigh the risks by almost 4:1.

I have performed a reanalysis of Dr. Perry’s abstracted PGIC data from the 7
studies that are presented on pages 361-366 of his report. These 7 studies
(Backonja, Parsons, Reckless, Rowbotham, Rice, Gordh, and Serpell) were
placebo controlled RCTs in which the PGIC was a pre-specified endpoint. As
noted by Dr. Perry, a commonly used endpoint is the proportion of patients who
are much or moderately improved. Instead of using a fixed-effects meta-analysis
as used by Dr. Perry, I used a more sophisticated and appropriate analysis based
on a mixed-effects logistic regression model (see Hedeker and Gibbons, 2006).
The mixed-effects model allows both the overall incidence and the treatment
effect to vary from study to study, whereas the fixed-effects model assumes that
all studies have exactly the same treatment effect, a clearly unreasonable and
overly restrictive assumption. I have reanalyzed these data, comparing gabapentin
and placebo in terms of the rate of moderate improvement or better. Results of
the analysis revealed an overall odds ratio of 2.54 (1.80-3.57), p=0.0001,
indicating that the likelihood of improvement on gabapentin is two and one-half
times higher than for placebo. The overall number needed to treat to obtain one
additional improvement is 5.07 (4.21-6.45) patients. Individually, all but one of
the 7 studies revealed statistically significant improvement for gabapentin relative
to placebo (Backonja OR=3.01, (1.56-5.76), p=0.001; Parsons OR=1.79, (1.16-
2.78), p=0.011; Reckless OR=1.25, (0.73-2.16), p=0.491; Rowbotham OR=6.29,
(3.16-12.49), p=0.001; Rice OR=2.44, (1.44-4.14), p=0.001; Gordh OR=3.07,
(1.31-7.17), p=0.015; Serpell OR=2.72, (1.54-4.81), p=0.001). Overall, 41.72%
of gabapentin treated patients improved moderately or more whereas only 21.98%
of patients on placebo improved to this degree. These results clearly show that
gabapentin is efficacious in the treatment of pain, both overall and individually
across a series of 7 randomized placebo controlled trials. Again, this benefit far
exceeds the risk of a side effect of sufficient severity to cause a patient to
discontinue treatment and withdraw from the study (i.e., 2.9% increased
withdrawals due to side effect relative to placebo).

Finally, while Dr. Perry obtained an overall difference between gabapentin and
placebo of 17.2%, my analysis described above found an overall difference of
19.7%. What is the discrepancy? Inspection of his excel spreadsheet entitled
“Patient Global Impression of Change Histograms — Prepared by K. Innes, TLP

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edits August 7, 2008” reveals that there were a total of 68 placebo patients and
108 gabapentin patients who were not evaluated. Dr. Perry, included these
patients who were not even evaluated in his analysis and designated them as not
having a PGIC of “moderate or much improvement.” How could he possibly
have known this if these patients were not even evaluated? Clearly this is an error,
which I have corrected in my analysis, and have found an even larger separation
between gabapentin and placebo and a correspondingly smaller number needed to
treat (NNT=5). To make matters worse, page 318 of Dr. Perry’s report lists the
total number of placebo patients as 823, whereas the total number of placebo
patients listed in the spreadsheet is 837 (which includes the category of not
evaluated). Here the discrepancy is that for the Serpell study there were a total of
152 patients, 14 of which were not evaluated for a total number of 138 patients
evaluated. For this study alone, the correct number of cases was listed in Dr.
Perry’s report (i.e., 138, where 823+14=837). This rather egregious statistical
error whether premeditated or merely a casual mistake makes one question Dr.
Perry’s characterization of his own work as “meticulous.” The fact that the
spreadsheet was actually edited by Dr. Perry on August 7, 2008, raises further
concern regarding the integrity of the analyses presented in his report, and his
ability to prepare such a report. This review of Dr. Perry’s PGIC calculations, is
the only analysis that I have had adequate person-level data to actually recompute
the statistics and verify the computations provided in Dr. Perry’s report.

5. In an effort to better understand the data reported by Dr. Perry on the effect of
gabapentin on pain scores, I requested the original raw data from Pfizer for the 6
parallel group placebo controlled neuropathic pain RCTs. These studies included:

945-210 (neuropathic pain) (Backonja DPN study)

945-211 (neuropathic pain) (Rowbotham PHN study)

945-224 (neuropathic pain) (Reckless DPN study)

945-430-295 (neuropathic pain) (Rice PHN study)

945-430-306 (neuropathic pain) (Serpell mixed neuropathic pain study)
945-1008 (neuropathic pain) (Parsons DPN study)

me acrse

I conducted separate analyses for the intent to treat (ITT) and efficacy evaluable
(EE) populations. A breakdown of the study populations and measurement
occasions is as follows:

Number of Sites and Subjects for Each Study

 

 

Study Site # of Subjects | Assessment Week

210 20 165 Oto9

211 16 229 0, 2, 4, 8, and 9

224 53 324 0 to 9 but very small number of subjects at week 8
295 49 334 no week 8

306 34 304 0 to 9

1008 43 383 Oto9

 

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For the ITT population, there were a total of 1,738 patients with a total of 14,114
pain measurements. For the EE population there were a total of 1,524 patients
with a total of 13,081 measurements. I considered the ITT population the primary
analysis sample, as would FDA in reviewing any new drug application (NDA). I
analyzed these data using a 3-level mixed-effects regression model where level 3
represents study, level 2 represents subject, and level 1 represents measurement
occasion. All available data from baseline (week 0) through week 9 were
included in the analysis. The dependent variable was the pain score. The
intercept and slope of the time trends were random effects at both the study level
and patient level (i.e., levels 2 and 3 in the hierarchical model). Treatment
(0=placebo, 1=gabapentin) and the treatment by week interaction were fixed-
effects in the model. Inspection of the observed means over time revealed that the
time-trends were curvilinear and well approximated by a log-linear time trend
(see Figure 4), quite similar to the temporal pattern observed in Figure 3 for the
Backonja study.

Results of the analysis revealed a significant treatment by time interaction for the
ITT population (p<0.00001) and the EE population (p<0.00001), indicating that
the gabapentin treated subjects had significantly more rapid pain reduction
relative to placebo subjects. For the ITT sample, the rate of change for placebo
subjects was -0.57 pain units per natural log week (In(week)) and for gabapentin
treated subjects it was -0.92 pain units per week. This represents a 61% increase
in the rate of pain reduction for gabapentin treated subjects relative to placebo
controls. Based on the model, the estimated week 9 average pain score for
placebo subjects was 5.15 and 4.02 for gabapentin treated subjects. For the EE
population the estimated week 9 average pain score for placebo subjects was 5.23
and 4.17 for gabapentin treated subjects. In both cases, the average difference is
greater than one pain unit. These observed and estimated effects of treatment
with gabapentin are displayed graphically in Figure 4.

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Figure 4

Observed and Estimated Pain Scores over Time

 

 

 

 

 

 

 

 

ITT Sample
8
7 A
a placebo
PN
IN :
g 6 \ oe Placebo s gabapentin
ov 4 ms
5 a Qe
* 5 4 2 °
4 a na,
. Z om el .
4 . .
Gabapentin
3 T ] T T T T Tt T T
0 2 4 6 8 10
Week

Based on the mixed-effects regression model, the estimated standard deviation at
week 9 is 2.643 for the ITT sample. The estimated mean difference at week 9
was |.13 pain units. The estimated effect size is therefore 0.43 standard deviation
units, which is considered moderate and clearly not clinically insignificant.

Finally, using the individual patient empirical Bayes estimates of the intercept and
slope from the mixed-effects regression model for the ITT sample, I computed
the expected pain score at week 9 and used this to determine the proportion of
patients in control and gabapentin arms who exhibited a 50% or greater reduction
in pain. If the observed value at week 9 was available for a given patient, it was
used in place of the predicted value. 33.4% of gabapentin treated patients
achieved a 50% or greater reduction in self-rated pain, whereas only 18.7% of the
control patients achieved a 50% or greater reduction in self rated pain (OR=2.184,
CI=1.739-2.743, p<0.0001). Quite similar results were obtained when the
analysis was based exclusively on the estimated values (31.9% vs. 18.2%;
OR=2.103, CI=1.671-2.647, p<0.0001), which provides further evidence of the
excellent fit of the statistical model to the observed data.

Opinions on Dr. McCrory’s Report

1. Dr. McCrory performed a meta-analysis to examine the effect of gabapentin on

headache frequency. One of the key endpoints in these studies was 50%
reduction in headache frequency. Dr. McCrory presents the following data on
headache frequency and notes that “While none of these studies found a

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statistically significant effect when considered alone, neither does a combined
estimate of effect reach statistical significance.”

gabapentin placebo

Subgroup >50% >50%

within Time reduction in gabapentin reductionin placebo
Study name _ study Outcome __ point HF Total N HF Total N
RR4301- 50% HF
00066 Efficacy reduction Blank 7 22 6 31
RR99Q5- 50% HF
00085 Efficacy reduction SP1 27 65 8 37
RR99Q5- 50% HF SP1&2
00085 Efficacy reduction combined 22 65 7 39
RR995- 50% HF
00085 Efficacy reduction SP2 19 65 11 37
RR995- 50% HF
00085 miTT reduction SP1 31 76 9 46
RRQ95- 50% HF SP1&2
00085 mITT reduction combined 28 76 9g 46
RR995- 50% HF
00085 mITT reduction SP2 26 76 16 46
RR995- 50% HF
00074 Efficacy reduction SP1 17 62 9 33
RR995- 50% HF SP1&2
00074 Efficacy reduction combined 19 62 8 33
RR995- 50% HF
00074 Efficacy reduction SP2 24 62 7 33
RR995- 50% HF
00074 mITT reduction SP‘ 26 76 10 36
RR995- 50% HF SP1&2
00074 mITT reduction combined 27 77 9g 36
RR995- 50% HF
00074 miTT reduction SP2 31 77 7 36
Mathew 50% HF
2001 mITT reduction SP2 26 56 5 31
Wessely 50% HF
1987 Efficacy reduction Blank 6 14 5 19

I have reanalyzed these data using a mixed-effects logistic regression model (see
Hedeker and Gibbons, 2006). Where available I used the efficacy population and
the SP2 time point similar to that used by Dr. McCrory in his meta-analyses (see
bold-faced entries in the above Table). The mixed-effects model allows both the
overall incidence and the treatment effect to vary from study to study, whereas the
fixed-effects model assumes that all studies have exactly the same treatment
effect, a clearly unreasonable and overly restrictive assumption. Results of the
analysis revealed a statistically significant overall odds ratio of 2.08 (1.21-3.57),
p=0.0079 indicating twice the likelihood of a 50% reduction in headache

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frequency in gabapentin treated patients relative to placebo controls. Individual
odds ratios were 1.94 (RR4301-00066), 0.98 (RR995-00085), 2.35 (RR995-
00074), 4.51 (Mathew, 2001), and 2.10 (Wessely, 1987). The number needed to
treat to get one additional 50% headache reduction is 6.7 (4.3-18.5) patients.
Overall, 37% of gabapentin treated subjects had a 50% or greater headache
frequency reduction whereas only 23% of placebo treated patients achieved a
50% or greater headache frequency reduction. These data clearly reveal a benefit
of gabapentin treatment in terms of reducing headache frequency.

2. Dr. McCrory believes that the Wessely study actually represents an interim
analysis of study 66 and that the Mathew study represents a subgroup analysis of
study 74. Even if I limit the analysis to the studies selected and combined by Dr.
McCrory, but using a more sophisticated statistical method of combining the
results, the analysis yields an overall odds ratio of 1.62 (0.91-2.88), p=.099,
which approaches statistical significance, a trend that favors gabapentin (34%
achieving a 50% reduction on gabapentin and 24% on placebo).

3. Note that while I was able to perform a re-analysis of the original data for the
neuropathic pain studies, because individual longitudinal data were available from
all 6 of the parallel group RCTs, for the migraine studies, individual level data
were only available for two studies (i.e., studies 74 and 85), which was too small
for a meaningful analysis. Furthermore, the design of these studies (i.e., baseline,
titration, and two stabilization phases) precluded the type of longitudinal analysis
that I was able to perform for the neuropathic pain studies.

Conclusion

In summary, the data provide overwhelming evidence that the effects of gabapentin on
pain are well beyond anything that is consistent with chance expectations. All analyses
of these data, whether expressed in terms of the original pain scores, 50% reduction in
pain scores, or PGIC self ratings of moderate or much improvement, reveal statistically
significant beneficial effects of treatment. In general, the odds of benefit on gabapentin
are approximately double that of placebo. The number needed to treat in order to obtain
one additional case of moderate to much improvement over placebo is 5, whereas the
number needed to harm to a degree in which one additional gabapentin treated patient is
willing to discontinue treatment relative to placebo is 35. As such, the overall benefit to
risk ratio relative to placebo is 7:1, that is, for every patient that withdraws from the study
due to an adverse event, 7 patients achieve moderate to much improvement (relative to
placebo).

These analyses of pain provide a far more statistically rigorous review of the effects of
gabapentin than do the analyses performed by Dr. Perry. First, my analyses are restricted
to parallel group randomized placebo controlled trials, which provide the most unbiased
view of the effects of gabapentin. Second, my analysis utilized all available data from all
patients and all measurement occasions from the original source, whereas Dr. Perry’s

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analyses relied on summary measures of means and standard deviations or proportions
that may or may not have been correctly reported in the original articles, focused only on
endpoints, and may have used a variety of different approaches to handling study dropout
(e.g., last observation carried forward, or completers only). Third, the meta-analytic
method used by Dr. Perry in his analysis of these data assumed that the effect of
treatment was identical across all studies. This is a very unrealistic assumption
particularly given that Dr. Perry pooled studies with different experimental designs (i.e.,
parallel group and crossover studies) as well as studies with different endpoints (i.e., pain
scores and proportions of subjects achieving a 50% reduction in pain). By contrast, my
analysis considered a single endpoint (pain) in parallel group placebo controlled studies,
and allowed the effect of treatment to vary across both studies and across individuals
within studies. My analysis revealed statistically significant effects of gabapentin
treatment on pain reduction, with much larger beneficial effects of treatment than
identified by Dr. Perry. The difference between the results of my analysis and Dr.
Perry’s is due to the fact that my analysis was based on all of the original data and not
just summary statistics, and that the statistical methodology used in my analysis has far
more general assumptions and therefore more adequately represents the actual data than
the methods used by Dr. Perry.

Finally, my review of Dr. Perry’s report raises serious questions regarding the care
which Dr. Perry and his associates took in their re-analysis of these data. Of the 176
patients who were not evaluated, Dr. Perry appears to have assigned a non-favorable
response to all but 14 of these patients in his analysis. This is a serious error and raises
questions regarding the validity of any of the analyses presented in his report.

With respect to Dr. Jewell’s claim that the beneficial effect of gabapentin in the Backonja
study was the result of unblinding due to CNS side effects, I can find no evidence in the
data to support such a conclusion. If anything the reverse may be true in that CNS side
effects such as nervousness, twitching, and ataxia were positively related to pain scores
(i.e., the presence of these CNS side effects was associated with significantly increased
pain), which is the opposite of what would be expected if these side-effects were
associated with unblinding. No evidence in support of unblinding is found, when I
explicitly tested for it. Furthermore, repeating Dr. Jewell’s analyses in which the
longitudinal records were censored at the time of a CNS side effect still found a
significant beneficial effect of treatment when the curvilinearity in the time trends was
accommodated in the analysis and a more general longitudinal statistical analysis method
was used. These findings corroborate the original findings of Backonja and colleagues
that was peer reviewed and published in The Journal of the American Medical
Association.

Finally, my reanalysis of the data on 50% reduction in migraine headache frequency
reported by Dr. McCrory, revealed significant benefit of treatment with gabapentin
overall for the three Pfizer studies and the two published reports of Mathew and Wessely.
Even if I restrict the analysis to the three studies selected by Dr. McCrory, my analysis
reveals a trend in favor of gabapentin that approaches statistical significance.

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I reserve the right to supplement these opinions and my reports based on additional
information, data, or materials that may become available to me.

I declare under penalty of perjury under the laws of the United States of America that the
Opinions set forth in this document are my opinions to a reasonable degree of medical and
scientific certainty, and are true and correct.

Executed December 15, 2008.

Sincerely,

AG CDE

Robert D. Gibbons Ph.D.

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EXHIBIT A
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CURRICULUM VITAE
Robert D. Gibbons Rooms 455-457
June 28, 1955 1601 W. Taylor
University of Illinois Chicago, I]. 60612
Center for Health Statistics Sees:

PROFESSIONAL EXPERIENCE:

2000-present Director, Center for Health Statistics, University of Illinois at Chicago.
1993-present Professor of Biostatistics, University of Illinois at Chicago.

1985-1993 Associate Professor of Biostatistics, University of Illinois at Chicago.
1988-1989 Visiting Professor, University of Chicago. ~~

1981-1985 Assistant Professor of Biostatistics, University of Illinois at Chicago.
1981-1986 Statistical Consultant, National Institute of Mental Health.

1980-1992 Statistical Consultant, IIT Research Institute.

1980-1992 Statistical Consultant / Visiting Professor, Rush Medical School.
1980-1981 Senior Programmer and Statistician, University of Chicago, DOD/NORC.
1978-1982 Statistician, Illinois State Psychiatric Institute.

1978-1980 Statistical Consultant, Harvard University, Department of Psychology.
1977-1978 Statistical Analyst, University of Chicago, Department of Psychiatry.

EDUCATION:
Ph.D., University of Chicago, 1981, Statistics and Psychometrics.

Dissertation Topic: Trend in Correlated Proportions
Dissertation Chairman: R. Darrell Bock

B.A., University of Denver, 1976, Chemistry and Mathematics
HONORS:

Scholarship for Graduate Study, 1978-1981, University of Chicago

Young Investigator Award, 1985-1992, Office of Naval Research

U.S. Patent #4,807,163 Digital Analysis of Multiple Component Visible Fields

National Institute of Mental Health Services Research IRG Member 1992-1996

Research Scientist Award - National Institute of Mental Health, 1995-2000

Institute of Medicine - Committee on the Drug Halcion, 1997

Veterans Administration Cooperative Study Review Board, 1998

20th Century Distinguished Service Award for Outstanding Contribution to the Development
of Statistical Ecology, Environmental Statistics and Risk Assessment, 2000

Institute of Medicine - Committee on Organ Procurement and Transplantation Policy, 1999
Institute of Medicine - Health Sciences Policy Board Member, 1999-2004.

Congressional Testimony on Allocation of Organs for Transplantation - 9/21/99.

Institute of Medicine - Committee on Small n Clinical Trials, 2001

Institute of Medicine - Committee on Adolescent and Adult Suicide, 2002
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Fellow of the American Statistical Association, 2001

Member of the Institute of Medicine of the National Academy of Sciences, 2001
Member of the American College of Neuropsychopharmacology, 2001

Youden Prize for Contributions to Inter-laboratory Calibration (ASA, 2002)
Harvard Award in Psychiatric Epidemiology and Biostatistics, (Harvard, 2003)

2001 Book with Coleman ranked in the top 5 books for Statisticians by the ASA
FDA Advisory Board on Suicide and Antidepressants in Adolescents, 2004

Institute of Medicine - Committee on National Cord Blood Stem Cell Program, 2005
Institute of Medicine - Committee on US Drug Safety, 2005-2006

Youden Prize for Contributions to Inter-laboratory Calibration (ASA, 2006)

NIH Consensus Panel on the Efficacy and Safety of Multivitamins, 2006

VA — Blue Ribbon Working Group on Suicide Prevention in the Veterans Population, 2008

RESEARCH SUPPORT:

1984-1985 Campus Research Board of the University of Illinois. Grant #889 Statistical
Models of Complex Psychiatric Data. $10,300 (PI)

1985-1988 Office of Naval Research. Young Investigator Award. Conditional Dependence,
$181,000 (PI).

1986-1987 National Institute of Mental Health. 4 Comparison of Discrete and Continuous
Latent Structure, Grant #1RO3 MH 39750-01 Al $15,000, 1986 (Co. PI).

1985-1987 MacArthur Foundation, Network I, Biometric Laboratory Support $150,000 (PI).

1988-1989 Campus Research Board of the University of Illinois. Grant #5590 Statistical
Visualization. $8,000 (PI).

1988-1990 MacArthur Foundation, Network I, 4 Statistical Model for Biological Rhythm
Study $30,000 (PI).

1988-1991 Office of Naval Research. Continuation of Support for Conditional Dependence,
$184,000 (PI.

1990-1992 National Institute of Mental Health. Problem Drinking Over Time by Future MDs
Grant # RO] AA07311-05, $493,233, Statistician, (Dr. Judy Richman PI).

1990-1991 MacArthur Foundation, Network I, Social Zeitgebers and Biological Rhythms
$24,000. (Co. PI).

1990-1991 National Institute of Mental Health. MIXMASTER: A computer program for
resolving normal mixtures, Grant #R43 MH 45620-01 Al $50,000, (PI).

1991-1995 National Institute of Mental Health. Statistical Evaluation: Preschoolers Behavior
Problems & Health Care Use: A Longitudinal Study, Grant # RO] MH46089,
$154,603, (Biostatistical Subcontract - Dr. John Lavigne PI).

1991-1993 National Institute of Mental Health. Random Regression Models for Longitudinal
Psychiatric Data, Grant #RO1 MH 44826-01 A2 $299,000, (PI).

1991-1992 National Institute of Mental Health. Monoamine Receptor Sensitivity in Mental
Illness, Grant #RO1 MH36169-08A2, $187,040, Statistician, (Dr. Ghanshyam PI).

1991-1992 MacArthur Foundation, Network I, A Statistical Re-evaluation of the NIMH
Treatment Collaborative Study of Depression Using Random Regression Models,
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$34,167. (PI).

1992-1997 National Institute of Mental Health. Schizophrenic Cognition: A Longitudinal
Study, Grant # HHS-2 RO1 MH26341-17, $36,000 Biostatistical subcontract, (Dr.
Martin Harrow PI).

1992-1996 National Institute of Mental Health. Serotonin Receptors in Teenage Suicide and
Their Families, Grant # RO] MH48153-01A1, $940,316, Statistician, (Dr.
Ghanshyam Pandey PI).

1993-1996 National Institute of Mental Health. Random Regression Models for Longitudinal
Psychiatric Data, Grant #RO1 MH 44826-03 Al $473,080, (PI). Renewal

1995-2000 National Institute of Mental Health. Research Scientist Award Grant #K05
MH01254 $458,132 (PI).

1996-2000 National Institute of Mental Health. Statistical Models for Nested Service
Utilization Data Grant #RO1 MH 56146 $473,080 (CO-PI) (Dr. Donald Hedeker
PI).

2000-2004 National Institute of Mental Health. Statistical Models for Nested Service

Utilization Data (percentile = 0.5) Grant #RO1 MH 56146-04 $1,233,936 (CO-PI)
(Dr. Donald Hedeker PI).

2000-2007 National Institute of Mental Health. Statistical Center for the MTA Follow-up Study,
$923,000 (PI).

2002-2007 National Institute of Mental Health. Mixed-effects ZIP models for Mental Health
Services Research, #RO1 MH65556-01, $660,735 (PI).

2002-2006 National Institute of Mental Health. Mental Health Computerized Adaptive Testing,
Grant #RO1 MH66302-01, $1,077,502 (PI).

2004-2007 National Institute of Mental Health. Multivariate Probit Model for Health Services
Research, Grant #RO1 MH67198-01, $663,950 (Dr. Hua Yun Chen PI).

2005-2008 National Institute of Mental Health. Statistical Testing for Generalized
Mixed-effects Models, Grant #RO1 MH069353, $450,000 (Dr. Dulal Bhaumik PI).

2005-2006 National Cancer Institute. Evaluation of the Added-Value of Multidimensional and
Hierarchical Psychometric Modeling for Cancer Outcomes, Contract #05828,
$150,000 (PI).

2006-2011 National Institute of Mental Health. Mental Health Computerized Adaptive Testing
- Competitive Renewal, Grant #RO1 MH66302-04, $3,429,658 (PI).

2006-2007 National Institute of Mental Health. Antidepressant Treatment and Suicidality:
Methodological and Biostatistical Solutions. #R56 MH078580-01, $232,500 (PI).

2007-2012 National Institute of Mental Health. Autism Center of Excellence: Translational
Studies of Insistence of Sameness in Autism. 1P50HD055751, $9,600,000 (PI of
Statistical Core).

2007-2011 National Institute of Health (AHRQ - CERT). Tools for Optimizing Prescribing,
Monitoring and Education. U18HS016973, $4,000,000 (PI of Statistical Core).

2008-2013 National Institute of Mental Health. Antidepressant Treatment and Suicidality:
Methodological and Biostatistical Solutions. #RO] MH8012201, $2,640,000 (PI).
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OTHER ACTIVITIES:

Reviewer for Journal of American Statistical Assoc., Biometrics, Psychometrika,
Technometrics, Archives of General Psychiatry, Journal, of Psychiatric Research,
American Journal of Psychiatry, Science, Psychiatry Research, Sociological
Methodology, Psychological Bulletin, Biological Psychiatry, Environmental Science
and Technology, Statistics in Medicine, and Ground Water

Grant reviewer for National Institute of Mental Health

Editorial Board of Health Services and Outcomes Research

10.

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PEER REVIEWED PUBLICATIONS:

Stein J.H., Gibbons R.D., & Meldman M.J. Lateral eye movement, handedness and sex
in learning disability children. Cortex, 16, 223-229, 1980.

Gibbons R.D. Clark, D., & Davis J.M. A statistical model for the classification of
imipramine response in depressed inpatients. Psychopharmacology, 78, 185-189,
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psychiatric patients: the pleasure scale. Archives of General Psychiatry, 40, 79-84,
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and antidepressant response. Journal of Clinical Psychiatry, 44, 10-13, 1983.

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Clark D.C., Cavanaugh S.A., & Gibbons R.D. The core symptoms of depression in
medical and psychiatric patients. Journal of Nervous and Mental Disease, 171,
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assays in mice. Journal of Toxicology and Environmental Health, 11, 827-841,
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of closure and surgical skill. Journal of the American Podiatry Association, 73,
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medication on selected cognitive and perceptual measures. Journal of Abnormal
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rating scale. Journal of the American Academy of Child Psychiatry, 23, 191-197,
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osteogenesis imperfecta on count, protein content, and monoamine oxidase activity
of human thrombocytes. Clinica Chemica Acta, 137, 123-129, 1984.

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analysis and display of longitudinal psychiatric data. Archives of General Psychiatry,
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stimulation in hypothyroid rats than intravenously-delivered hormone: evidence for
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32, Gibbons R.D., Baker R.J., Skinner D.B. Field articulation testing: a predictor of
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EXHIBIT B
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List of Materials Reviewed

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2.) July 29, 2008 expert report of Nicholas P. Jewell

3.) August 10, 2008 expert report of Thomas L. Perry

Research Reports

4.) Research Report 4301-00066 (Study 879-200) (and underlying data)

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